Case 2:04-cr-20223-.]PI\/| Document 112 Filed 06/14/05 Page 1 of 2 Page|D 196

 

IN THE UNITED sTATEs DIsTRICT CoURT FH-ED as _, D in
FOR THE WESTERN DIsTRICT oF TENNESSEE ""
WESTERN DrvisIoN 55 JUP! 114 ii 9, 08
UNITED sTATEs oF AMERICA, ) 90
Plaintiff, ) (_';g_§§:§" 515 U[ TP?OL:Q
) man og- `~?'EJ' ” "‘T
‘ -- f" rlvipf HIS
v. ) Cr. No. 04-20223-B
)
MARILYN wATTs, )
DARRYL DEMPSEY, )
MICHAEL PRINCE, )
Defendant. )

 

ORDER ON MOTION TO RESCHEDULE REPORT DATE

 

THIS MATTER came on to be heard upon the motion of Defendants, Marilyn Watts, Danyl
Dempsey and Michael Prince to reschedule the report set for June 23, 2005. For good cause shown

and Without objection from the United States, the motion is GRANTED. This matter shall be

continued until A uc¢`O,on ch) , , 2005 at
al f 3 O a.m.

This request for a continuance is advanced by the defense in order to prepare the ease. The

period of time from the written request of Defendant on June 9, 2005, for additional time to prepare

until the report on Al--¢\(,;.`£ 7¥` l"`| , , 2005, is excludable delay under 18 U.S.C.

§ 3161 (h)(S)(A) as the ends of justice served by granting defendant’s motion outweigh the best

interest of the public and the defendant in a speedy trial

IT IS SO ORDERED, ADJUDGED AND DECREED this fit ’\day of June, 2005.

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.Da iel Breen
NIT D STATES DISTRICT JUDGE

': This document entered on the docket hee}|n cornell nce
' /
with Rule 55 and/or 32{b) FFlCrF on § d gs

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UNITED `SATES DISTRIC COURT - W'"ERNT D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 112 in
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Honorable J. Breen
US DISTRICT COURT

